












NUMBER 13-03-393-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


DAVID L. JEFFREY,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 278th District Court 


of Grimes County, Texas.


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MEMORANDUM OPINION



Before Justices Hinojosa, Yanez, and Garza


Opinion Per Curiam



	Appellant, DAVID L. JEFFERY, attempted to perfect an appeal from a judgment
entered by the 278th District Court of Grimes County, Texas.  Sentence in this cause
was imposed on March 20, 2003.  No timely motion for new trial was filed.   The
notice of appeal was due to be filed on April 21, 2003, but was not filed until June
3, 2003.   Said notice of appeal is untimely filed. 

	Tex. R. App. P. 26.3 provides that the court of appeals may grant an extension
of time for filing notice of appeal if such notice is filed within  fifteen days of the last
day allowed and within the same period a motion is filed in the court of appeals
reasonably explaining the need for such extension.  Appellant failed to file his notice
of appeal and a motion requesting an extension of time within such period. 

	The Court, having considered the documents on file and appellant's failure to
timely perfect his appeal, is of the opinion that the appeal should be dismissed for
want of jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF JURISDICTION.

									PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Opinion delivered and filed this

the 16th day of October, 2003.


